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                   UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER, Individually,            :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :               Case No.
                                         :
SURF HOTEL INVESTMENTS L.L.C., a         :
Foreign Limited Liability Corporation,   :
                                         :
              Defendant.                 :
_______________________________________/ :
                                         :
                                         :

                                           COMPLAINT
                                    (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, SURF

HOTEL INVESTMENTS L.L.C., a Foreign Limited Liability Corporation, (sometimes referred to

as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

               own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

               handicap parking spaces located closet to the entrances of a facility. The handicap and
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            access aisles must be of sufficient width so that she can embark and disembark from

            a ramp into her vehicle. Routes connecting the handicap spaces and all features, goods

            and services of a facility must be level, properly sloped, sufficiently wide and without

            cracks, holes or other hazards that can pose a danger of tipping, catching wheels or

            falling. These areas must be free of obstructions or unsecured carpeting that make

            passage either more difficult or impossible. Amenities must be sufficiently lowered so

            that Plaintiff can reach them. She has difficulty operating door knobs, sink faucets, or

            other operating mechanisms that tight grasping, twisting of the wrist or pinching. She

            is hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

            or burning her legs. Sinks must be at the proper height so that she can put her legs

            underneath to wash her hands. She requires grab bars both behind and beside a

            commode so that she can safely transfer and she has difficulty reaching the flush

            control if it is on the wrong side. She has difficulty getting through doorways if they

            lack the proper clearance.

2.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

            "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

            determining whether places of public accommodation and their websites are in

            compliance with the ADA.

3.          According to the county property records, Defendant owns a place of public

            accommodation as defined by the ADA and the regulations implementing the ADA,

            28 CFR 36.201(a) and 36.104. The place of public accommodation that the Defendant

            owns is a place of lodging known as The Willows Hotel, 555 W. Surf St., Chicago,

            Illinois, 60657 and is located in the County of Cook, (hereinafter "Property").
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4.          Venue is properly located in this District because the subject property is located in

            this district.

5.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

            original jurisdiction over actions which arise from the Defendant’s violations of Title

            III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

            U.S.C. § 2201 and § 2202.

6.          As the owner of the subject place of lodging, Defendant is required to comply with

            the ADA. As such, Defendant is required to ensure that it's place of lodging is in

            compliance with the standards applicable to places of public accommodation, as set

            forth in the regulations promulgated by the Department Of Justice. Said regulations

            are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

            Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

            by reference into the ADA. These regulations impose requirements pertaining to

            places of public accommodation, including places of lodging, to ensure that they are

            accessible to disabled individuals.

7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

            Reservations made by places of lodging. A public accommodation that owns,
            leases (or leases to), or operates a place of lodging shall, with respect to
            reservations made by any means, including by telephone, in-person, or through a
            third party -
                    (I) Modify its policies, practices, or procedures to ensure that individuals
                    with disabilities can make reservations for accessible guest rooms during
                    the same hours and in the same manner as individuals who do not need
                    accessible rooms;
                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably
                    permit individuals with disabilities to assess independently whether a given
                    hotel or guest room meets his or her accessibility needs;
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                     (iii) Ensure that accessible guest rooms are held for use by individuals with
                     disabilities until all other guest rooms of that type have been rented and the
                     accessible room requested is the only remaining room of that type;
                     (iv) Reserve, upon request, accessible guest rooms or specific types of
                     guest rooms and ensure that the guest rooms requested are blocked and
                     removed from all reservations systems; and
                     (v) Guarantee that the specific accessible guest room reserved through its
                     reservations service is held for the reserving customer, regardless of
                     whether a specific room is held in response to reservations made by others.

8.           These regulations became effective March 15, 2012.

9.           Defendant, either itself or by and through a third party, accepts reservations for its

             hotel online through one or more websites. The purpose of these websites is so

             that members of the public may reserve guest accommodations and review

             information pertaining to the goods, services, features, facilities, benefits,

             advantages, and accommodations of the Property. As such, these websites are

             subject to the requirements of 28 C.F.R. Section 36.302(e).

10.          Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

             purpose of reviewing and assessing the accessible features at the Property and

             ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

             her accessibility needs. However, Plaintiff was unable to do so because Defendant

             failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e). As

             a result, Plaintiff was deprived the same goods, services, features, facilities,

             benefits, advantages, and accommodations of the Property available to the general

             public. Specifically, the online reservations system for The Willows hotel were not

             compliant with the above listed regulations upon review of the following websites:
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       https://willowshotelchicago.com; https://res.windsurfercrs.com;

       www.expedia.com; www.hotels.com; www.booking.com; www.orbitz.com;

       www.agoda.com and www.trip.com.

       a.     The online reservations service provided through the Willows hotel website

              does not identify or allow for booking of accessible rooms and provides

              insufficient information about accessibility at the hotel.

       b.     The online reservations system provided through the Windsurferscrs

              website does not identify or allow for booking of accessible rooms and

              provides insufficient information about accessibility at the hotel.

       c.     The online reservations service provided through the Expedia does not

              identify or allow for booking of accessible rooms and provides insufficient

              information about accessibility at the hotel.

       d.     The online reservations system provided through the Hotels does not

              identify or allow for booking of accessible rooms and provides insufficient

              information about accessibility at the hotel.

       e.     The online reservations system provided through the Booking website does

              not identify or allow for booking of accessible rooms and provides

              insufficient information about accessibility at the hotel.

       f.     The online reservations system provided through the Orbitz website does

              not identify or allow for booking of accessible rooms and provides

              insufficient information about accessibility at the hotel.
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             g.         The online reservations system provided through the Agoda website does

                        not identify or allow for booking of accessible rooms and provides

                        insufficient information about accessibility at the hotel.

             h.         The online reservations system provided through the Trip website does not

                        identify or allow for booking of accessible rooms and provides insufficient

                        information about accessibility at the hotel.

11.          In the near future, Plaintiff intends to revisit Defendant's online reservations

             system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

             respect, Plaintiff maintains a system to ensure that she revisits the online

             reservations system of every hotel she sues. By this system, Plaintiff maintains a list

             of all hotels she has sued with several columns following each. She continually

             updates this list by, among other things, entering the dates she did visit and plans

             to again visit the hotel's online reservations system. With respect to each hotel,

             she visits the online reservations system multiple times prior to the complaint being

             filed, then visits again shortly after the complaint is filed. Once a judgment is

             obtained or settlement agreement reached, she records the date by which the

             hotel's online reservations system must be compliant and revisits when that date

             arrives.

12.          Plaintiff is continuously aware that the subject websites remain non-compliant and

             that it would be a futile gesture to revisit the websites as long as those violations

             exist unless she is willing to suffer additional discrimination.

13.          The violations present at Defendant's websites infringe Plaintiff's right to travel free

             of discrimination and deprive her of the information required to make meaningful
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             choices for travel. Plaintiff has suffered, and continues to suffer, frustration and

             humiliation as the result of the discriminatory conditions present at Defendant's

             website. By continuing to operate the websites with discriminatory conditions,

             Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

             Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges

             and/or accommodations available to the general public. By encountering the

             discriminatory conditions at Defendant's website, and knowing that it would be a

             futile gesture to return to the websites unless she is willing to endure additional

             discrimination, Plaintiff is deprived of the same advantages, privileges, goods,

             services and benefits readily available to the general public. By maintaining a

             websites with violations, Defendant deprives Plaintiff the equality of opportunity

             offered to the general public. Defendant's online reservations system serves as a

             gateway to its hotel. Because this online reservations system discriminates against

             Plaintiff, it is thereby more difficult to book a room at the hotel or make an

             informed decision as to whether the facilities at the hotel are accessible.

14.          Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

             of the Defendant’s discrimination until the Defendant is compelled to modify its

             websites to comply with the requirements of the ADA and to continually monitor

             and ensure that the subject websites remains in compliance.

15.          Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant’s non-compliance with the ADA with respect to these

             websites. Plaintiff has reasonable grounds to believe that she will continue to be

             subjected to discrimination in violation of the ADA by the Defendant.
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16.          The Defendant has discriminated against the Plaintiff by denying her access to, and

             full and equal enjoyment of, the goods, services, facilities, privileges, advantages

             and/or accommodations of the subject website.

17.          The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.

18.          Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or otherwise

             treated differently than other individuals because of the absence of auxiliary aids

             and services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.
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20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and all

             other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

       a.    The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans with

             Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

       b.    Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.

       c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

       d.    Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

             Respectfully Submitted,

                                            Amale Knox, Of Counsel
                                            Thomas B. Bacon, P.A.
                                            330 Harrison St.
                                            Pontiac, MI 48341
                                            (248) 719-1001
                                            amale.knox.esq@gmail.com
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______________________________________________________________________________
               UNITED STATES DISTRICT COURT
                                              for the

                             NORTHERN DISTRICT OF ILLINOIS

 DEBORAH LAUFER, Individually,                     )
          Plaintiff,                               )
 v.                                                )    Civil Action No.
                                                   )
 SURF HOTEL INVESTMENTS L.L.C., a                  )
 Foreign Limited Liability Corporation,            )
               Defendant.


                              SUMMONS IN A CIVIL ACTION

To:            SURF HOTEL INVESTMENTS L.L.C.
               c/o CT Corporation System
               208 SO LaSalle St., Suite 814
               Chicago, IL 60604

         A lawsuit has been filed against you.
         Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

               Amale Knox, Of Counsel
               Thomas B. Bacon, P.A.
               330 Harrison St.
               Pontiac, MI 48341
               (248) 719-1001
               amale.knox.esq@gmail.com

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

                                                                     CLERK OF COURT

Date: ________________________                               ____________________________
                                                             Signature of Clerk or Deputy
